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                                                                         6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         8
                                                                         9   UNITED STATES OF AMERICA,
                                                      10                                    Plaintiff,                                No. CR 05-00465-3 JSW
                                                      11                       v.
United States District Court




                                                      12                     LIN HUA MA,                                              ORDER SETTING STATUS
                                                                                                                                      CONFERENCE
                                                      13                                    Defendant.
                               For the Northern District of California




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                                                      15                            On October 4, 2006, this Court received correspondence directly from the Defendant Lin
                                                      16                     Hua Ma. Due to the nature of that correspondence, the Court finds it appropriate to hold a status
                                                      17                     conference as to Ms. Ma only.
                                                      18                            Accordingly, counsel for the United States and counsel for Ms. Ma are HEREBY
                                                      19                     ORDERED to meet and confer and, in consultation with this Court’s Deputy Clerk, select a
                                                      20                     mutually agreeable date and time for this status conference during the week of October 23, 2006
                                                      21                     (excluding October 26, 2006) or on October 30 or 31, 2006. Counsel for Defendant is directed
                                                      22                     to ensure that his client can appear in person on the date selected. Once the parties have set a
                                                      23                     date, the matter shall be placed on the Court’s calendar via Clerk’s Notice.
                                                      24                            IT IS SO ORDERED.
                                                      25                     Dated: October 5, 2006
                                                                                                                                      JEFFREY S. WHITE
                                                      26                                                                              UNITED STATES DISTRICT JUDGE
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